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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO
                            Honorable Marcia S. Krieger

   Civil Action No. 13-CV-01300-MSK-MJW

   JOHN B. COOKE, Sheriff of Weld County, Colorado;
   TERRY MAKETA, Sheriff of El Paso County, Colorado;
   JUSTIN SMITH, Sheriff of Larimer County, Colorado;
   DAVID A. WEAVER, Sheriff of Douglas County, Colorado:
   BRUCE W. HARTMAN, Sheriff of Gilpin County, Colorado;
   KEN PUTNAM, Sheriff of Cheyenne County, Colorado;
   DENNIS SPRUELL, Sheriff of Montezuma County, Colorado;
   TIM JANTZ, Sheriff of Moffat County, Colorado;
   JERRY MARTIN, Sheriff of Dolores County, Colorado;
   MIKE ENSMINGER, Sheriff of Teller County, Colorado;
   SHAYNE HEAP, Sheriff of Elbert County, Colorado;
   CHAD DAY, Sheriff of Yuma County, Colorado;
   FRED D. MCKEE, Sheriff of Delta County, Colorado;
   LOU VALLARIO, Sheriff of Garfield County, Colorado;
   FRED HOSSELKUS, Sheriff of Mineral County, Colorado;
   BRETT L. POWELL, Sheriff of Logan County, Colorado;
   JAMES FAULL, Sheriff of Prowers County, Colorado;
   LARRY KUNTZ, Sheriff of Washington County, Colorado;
   BRIAN E. NORTON, Sheriff of Rio Grande County, Colorado;
   DUKE SCHIRARD, Sheriff of La Plata County, Colorado;
   JIM BEICKER, Sheriff of Fremont County, Colorado;
   RONALD BRUCE, Sheriff of Hindsdale County, Colorado;
   CHRIS S. JOHNSON, Sheriff of Otero County, Colorado;
   FRED JOBE, Sheriff of Custer County, Colorado;
   DONALD KRUEGER, Sheriff of Clear Creek County, Colorado;
   JAMES CRONE, Sheriff of Morgan County, Colorado;
   SI WOODRUFF, Sheriff of Rio Blanco County, Colorado;
   TOM RIDNOUR, Sheriff of Kit Carson County, Colorado;
   TOM NESTOR, Sheriff of Lincoln County, Colorado;
   STAN HILKEY, Sheriff of Mesa County, Colorado;
   FORREST FRAZEE, Sheriff of Kiowa County, Colorado;
   RICK DUNLAP, Sheriff of Montrose County, Colorado;
   TED B. MINK, Sheriff of Jefferson County, Colorado;
   DAVE STONG, Sheriff of Alamosa County, Colorado;
   FRED WEGENER, Sheriff of Park County, Colorado;
   BRUCE NEWMAN, Sheriff of Huerfano County, Colorado;
   RANDY PECK, Sheriff of Sedgwick County, Colorado;
   DOMINIC MATTIVI, JR., Sheriff of Ouray County, Colorado;
   JOHN MINOR, Sheriff of Summit County, Colorado;
   SCOTT FISCHER, Sheriff of Jackson County, Colorado;


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   PETER GONZALEZ, Sheriff of Archuleta County, Colorado;
   RICK BESECKER, Sheriff of Gunnison County, Colorado;
   CHARLES “ROB’ URBACH, Sheriff of Phillips County, Colorado;
   ROD FENSKE, Sheriff of Lake County, Colorado;
   GRAYSON ROBINSON, Sheriff of Arapahoe County, Colorado;
   DAVID D. CAMPBELL, Sheriff of Baca County, Colorado;
   MIKE NORRIS, Sheriff of Saguache County, Colorado;
   AMOS MEDINA, Sheriff of Costilla County, Colorado;
   MILES CLARK, Sheriff of Crowley County, Colorado;
   DAVID ENCINIAS, Sheriff of Bent County, Colorado;
   SUE KURTZ, Sheriff of San Juan County, Colorado;
   JAMES (JIM) CASIAS, Sheriff of Las Animas County, Colorado;
   GARRETT WIGGINS, Sheriff of Routt County, Colorado;
   DOUGLAS N. DARR, Sheriff of Adams County, Colorado;
   COLORADO OUTFITTERS ASSOCIATION;
   COLORADO FARM BUREAU;
   NATIONAL SHOOTING SPORTS FOUNDATION;
   MAGPUL INDUSTRIES;
   USA LIBERTY ARMS;
   OUTDOOR BUDDIES, INC.;
   WOMEN FOR CONCEALED CARRY;
   COLORADO STATE SHOOTING ASSOCIATION;
   HAMILTON FAMILY ENTERPRISES, INC., d/b/a FAMILY SHOOTING CENTER AT
   CHERRY CREEK STATE PARK;
   DAVID STRUMILLO;
   DAVID BAYNE;
   DYLAN HARRELL;
   ROCKY MOUNTAIN SHOOTERS SUPPLY;
   2ND AMENDMENT GUNSMITH & SHOOTER SUPPLY, LLC;
   BURRUD ARMS INC. D/B/A JENSEN ARMS;
   GREEN MOUNTAIN GUNS;
   JERRY’S OUTDOOR SPORTS;
   GRAND PRIX GUNS;
   SPECIALTY SPORTS & SUPPLY; and
   GOODS FOR THE WOODS;

        Plaintiffs,

   v.

   JOHN W. HICKENLOOPER, Governor of the State of Colorado,

        Defendant.




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                                    NOTICE AND DISCLOSURE


          In accordance with D.C.COLO.L.CivR 40.1 and 72.1 , the undersigned judges have been

   assigned to preside in this matter.

          Mindful of the issues currently framed in the Complaint (#1), the undersigned make the

   following disclosures. At this juncture and based on these facts, the undersigned do not believe

   that recusal is warranted.

          Magistrate Judge Michael J. Watanabe

         From 1981 to 1986, I worked as a deputy district attorney in the Eighteenth Judicial

          District, State of Colorado. In 1987, I was appointed as a state district court judge for the

          Eighteenth Judicial District and served in that capacity until 1999.

         During my tenure as a deputy district attorney and as a state district court judge, I worked

          with Plaintiff David A. Weaver, Sheriff of Douglas County, Colorado, and Plaintiff

          Grayson Robinson, Sheriff of Arapahoe County, in a professional capacity. At that time,

          neither Sheriff Weaver nor Sheriff Robinson were the elected Sheriffs for Douglas and

          Arapahoe counties, respectively.

         I do not own or possess any firearms, nor do I belong to any organization named as a

          Plaintiff in this action. No person covered by 28 U.S.C. § 455(b)(5) has an interest that

          will be substantially affected by the outcome of this proceeding.



          Chief Judge Marcia S. Krieger

         I own and am proficient in the use of firearms. None of my firearms accommodate large-

          capacity magazines, as that term is defined in House Bill 13-1224.



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         A member of my household owns large-capacity magazines, as well as firearms that

          accommodate such magazines. That person maintains exclusive ownership and

          possession of such magazines and firearms.

         I belong to the Centennial Gun Club. That club is not a party in this action. I do not

          belong to any organization named as a Plaintiff in this action.

         No person covered by 28 U.S.C. § 455(b)(5) has an interest that will be substantially

          affected by the outcome of this proceeding.


          Dated this 22nd day of May, 2013.


                                                        BY THE COURT:




                                                        Marcia S. Krieger
                                                        Chief United States District Judge



                                                        S/ Michael J. Watanabe

                                                        Michael J. Watanabe
                                                        U.S. Magistrate Judge




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